                      Case 1:21-cr-00119-CJN Document 45 Filed 09/03/21 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


                  United States of America                     )
                             Plaintiff                         )
                                v.                             )      Case No. 21-cr-119 (CJN)
                         Garrett MIller                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         United States of America                                                                                      .


Date:          09/03/2021                                                               /s/ James I. Pearce
                                                                                         Attorney’s signature


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